                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

United States of America,                  )       Case No. 18-0293-02-CR-W-DGK
                                           )
                             Plaintiff,    )       Date: September 17, 2019

       vs.                                 )
                                           )
Trevor Scott Sparks,                       )       Page 1 of 1
                                           )
                             Defendant.    )

                        MINUTES OF EVIDENTIARY HEARING

Hon. John T. Maughmer presiding at Kansas City, Missouri
====================================================================
Nature of Proceeding: evidentiary hearing on motion for discovery sanctions [Doc. 1170]

Time Commenced: 2:30 pm        Time Terminated: 3:15             Total Time: 45 minutes

Plaintiff by: AUSA Bruce Rhoades            Defendant by: Joe Vanover

 Exhibits Admitted/ Remarks: Parties appear ready to                      Witness Testifying
 proceed with evidentiary hearing @ 2:00 pm Counsel for
 defendant Sparks presents argument to Court regarding
 discovery issues in this case.
 Def. Ex. 1-4 admitted w/o objection @2:39
 Def. Ex. 6 admitted over objection @ 2:42
 Def. Ex. 5 admitted over objection at @ 2:45
 Def. Ex. 7 admitted over objection @ 2:47
 Counsel for United States responds to arguments of defense
 counsel. Court takes momentary recess.
 Court returns and denies motion for discovery sanctions and
 discusses manner of proceeding forward in this matter.




Motion to Suppress taken under advisement, Report and Recommendation to follow.

Court Recessed at: 3:15

Court Reporter: Judy Moore                         /S/  Pamela Alexander
                                                   Pamela Alexander, Law Clerk




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